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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


 UNITED STATES OF AMERICA,
                                                        Case No. 2:16-cr-20460
       Plaintiff,
                                                        Hon. Mark A. Goldsmith
 v.
 D-2 CARLO WILSON,

       Defendant.

 —————————————————————————————————/


       MOTION FOR AN ORDER REQUIRING THE GOVERNMENT
                TO COMPLY WITH RULE 12(b)(4)(B)

       Carlo Wilson, through counsel, pursuant to the Fifth, Sixth and Eighth

 Amendments to the United States Constitution and Federal Rules of Criminal

 Procedure 12(b)(4)(B) and 16, respectfully moves this Court for an order requiring

 the government to disclose to the defense the following:

       (1)       notice of any and all evidence or information, including all
             information subject to disclosure under Rule 16 in the possession,
             custody, or control of the government, or the existence of which is
             known, or by the exercise of due diligence could become known to the
             government, which evidence or information the government presently or
             at any time contemplates or considers using in its case-in-chief at guilt or
             penalty trial, and which evidence may be the subject of a motion for
             suppression pursuant to Rule 12(b)(3)(C). Such notice will include but
             not be limited to:

       (a)       Evidence that was obtained through any warrantless search or seizure,
             or that relates to or was derived from any such search or seizure
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             regarding defendant or any cooperating witness;

       (b)      Evidence that was obtained through the execution of any warrant, or
             that relates to or was derived from any such warrant regarding defendant
             or any cooperating witness;

       (c)      Evidence that was obtained through any electronic, visual, or
             mechanical surveillance, or that relates to or was derived from any such
             surveillance regarding defendant or any cooperating witness, including
             but not limited to any type of interception of any phone communication,
             conversation with another person, or physical activity;

       (d)      Evidence that was obtained through any use of a beeper, GPS, cell site
             location, or other tracking device, or that relates or was derived from any
             such beeper or other tracking device regarding defendant or any
             cooperating witness;

       (e)       Evidence that was obtained through any use of a mail cover, or that
             relates to or was derived from any such mail cover regarding defendant
             or any cooperating witness;

       (f)      Any evidence relating to any identification procedure regarding the
             defendant or any cooperating witness including but not limited to the
             exhibition or display of the defendant's or any or any cooperating
             witness’ photograph, likeness, image, or voice recording to anyone
             regarding defendant or any cooperating witness; any lineup that included
             defendant or any cooperating witness; and any production of a composite
             regarding defendant or any cooperating witness.

       (g)      Any written, recorded, or oral statements of the defendant or any
             cooperating witness, or any other written, recorded, or oral statements by
             others intended to be offered as a statement of the defendant or any
             cooperating witness.

       In support of this motion, Mr. Wilson states:

       1.       The grand jury indicted Mr. Wilson in a Second Superseding

 Indictment filed February 28, 2018. Dkt. 292. Mr. Wilson pled not guilty to the
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 charges. Dkt. 302.

       2.     The Second Superseding Indictment includes special findings that

 authorize the government to seek a sentence of death, pursuant to 18 U.S.C. §

 3591. On March 1, 2018, the government filed it notice of intent to seek a sentence

 of death against Mr. Wilson. Dkt. 293. Trial is scheduled for April 21, 2020. Dkt.

 475. Included in the Indictment are charges against ten alleged coconspirators. The

 discovery received thus far indicates numerous uncharged alleged coconspirators.

       3.     In the Indictment, the government alleges that Mr. Wilson was part of

 the “6 Mile Chedda Grove” street gang, which appears by the government’s

 allegations to be comprised of young men who grew up within a particular,

 approximate, square mile area of Detroit, Michigan. The government alleges that

 this group of young men, eleven of whom are included in the Indictment in this

 case, participated in illegal narcotics distribution and incorporated various insignia

 to identify their group. The government alleges a conspiracy involving a pattern of

 racketeering activity, including murder, robbery, and dealing in controlled

 substances. Seven of the counts in the Indictment, as alleged by the government,

 concern Mr. Wilson. Thus far, the government has produced well in excess

 100,000 pages of discovery, in addition to large video files and audio recordings.

       4.     Mr. Wilson respectfully moves this Court for an order requiring the

 government to provide notice of any and all evidence or information, including all
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 information subject to disclosure under Rule 16 in the possession, custody, or

 control of the government, or the existence of which is known, or by the exercise

 of due diligence could become known to the government, which evidence or

 information the government presently or at any time contemplates or considers

 using in its case-in-chief at guilt or penalty trial, and which evidence may be the

 subject of a motion for suppression pursuant to Rule 12(b)(3)(C).

       5.     The government, through its Assistant United States Attorney, does

 not concur in this motion.

                                Respectfully submitted,

                                By: s/ Jacqueline K. Walsh
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 DATED: October 19, 2018
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         MEMORANDUM IN SUPPORT OF CARLO WILSON’S
       MOTION FOR AN ORDER REQUIRING THE GOVERNMENT
                TO COMPLY WITH RULE 12(b)(4)(B)

                                      Issue Presented

       The issue before this Court is whether the government must provide notice

 of any and all evidence which it contemplates or considers using in its case-in-

 chief at guilt or penalty trial, and which evidence may be the subject of a motion

 for suppression pursuant to Rule 12(b)(3)(C).
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                       Controlling Authority for the Relief Sought

       Rules 12(b)(4)(B) and 16 of the Federal Rules of Criminal Procedure, and

 the Fifth, Sixth, and Eighth Amendments to the United States Constitution. See

 also United States v. de la Cruz-Paulino, 61 F.3d 986 (1st Cir. 1995).

                                       ARGUMENT

       Rules 12(b)(4)(B) provides that:

              At the arraignment or as soon afterward as practicable,
              the defendant may, in order to have an opportunity to
              move to suppress evidence under Rule 12(b)(3)(C),
              request notice of the government's intent to use (in its
              evidence-in-chief at trial) any evidence that the defendant
              may be entitled to discover under Rule 16.

 Fed. R. Crim. P. 12(b)(4)(B).

       The purpose of Rule 12(b)(4)(B) is to provide notice to the defense of which

 evidence, amongst the voluminous discovery provided, the government intends to

 use at trial. United States v. de la Cruz-Paulino, 61 F.3d 986, 993 (1st Cir. 1995)

 (internal quotations and citation omitted) (stating that then-Rule 12(d)(2),

 equivalent to now-Rule 12(b)(4)(B), “creates a notice requirement,” and the

 government satisfies the requirement when it “specif[ies] which evidence[it]

 intends to use at trial.”). As stated in advisory committee notes to the 1974

 amendment to Rule 12, “[a]lthough the defendant is already entitled to discovery

 of such evidence prior to trial under rule 16, rule 12 makes it possible for him to
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 avoid the necessity of moving to suppress evidence which the government does not

 intend to use.” Few circuits have addressed the notice requirements of Rule

 12(b)(4)(B), but in Cruz-Paulino, the appellate case most on point, the First Circuit

 held that providing open-file discovery does not satisfy Rule 12(b)(4)(B). Cruz–

 Paulino, 61 F.3d at 993.

       In Cruz–Paulino, the government designated certain evidence for trial and

 stated that any other evidence would be noticed before trial. See id. at 992. The

 government, however, failed to notify the defendants that it intended to introduce

 two specific pieces of evidence. See id. In holding that the government violated

 then Rule 12(d)(2), the First Circuit reasoned:

              To the extent that the government's open files contain
              information that is subject to Rule 16 discovery, Rule
              12(d)(2) creates a notice requirement. The open file
              policy does not, in and of itself, satisfy this notice
              requirement because it does not specify which evidence
              the government intends to use at trial. Providing open-file
              discovery does not satisfy Rule 12(d)(2) because the
              defendant is still left in the dark as to exactly what
              evidence, discoverable under Rule 16, the government
              intends to rely upon in its case in chief at trial.

 Id. at 993 (internal quotations and citations omitted); see also United States v.

 Cheatham, 500 F.Supp.2d 528, 534–35 (W.D. Pa. 2007) (“[W]hen the Government

 has an open file policy with regard to its prosecution, this policy does not comply

 with Rule 12(b)(4)(B) ‘because it does not specify which evidence the government

 intends to use at trial.’”) (quoting Cruz–Paulino, 61 F.3d at 993); United States v.
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 Anderson, 416 F.Supp.2d 110, 112 n.1 (D. D.C. 2006) (rejecting government's

 argument that it satisfied Rule 12(b)(4)(B) by providing open-file discovery and

 giving notice that it intended to use all of materials provided to defendant pursuant

 to that policy, and stating that the notice must consist of “the evidence that will

 appear on the government's exhibit list for trial.”); United States v. De Rong Shang,

 No. 2:11-cr-00110, 2012 WL 194418, at *6 (D. Nev. Jan. 23, 2012) (“With regard

 to the intent-to-use evidence, the government is ordered to provide the defendant

 with notice of any evidence it intends to use in its ‘evidence-in-chief’ . . . .”). Mr.

 Wilson urges the Court to follow Cruz–Paulino and the district court cases which

 have adhered to it because these cases are consistent with, and are mandated by,

 the plain language of the statute (“ . . . notice of the [its] intent to use (in its

 evidence-in-chief at trial) any evidence . . . .”).

        The notice requested in this motion has not been disclosed to the defense.

                                         CONCLUSION

        Carlo Wilson, through counsel, respectfully requests that the Court order the

 government to disclose to the defense notice of the evidence it intends to use in its

 case-in-chief at guilt and penalty trial as specified herein.
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                               Respectfully submitted,

                               By: s/ Jacqueline K. Walsh
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                                    Attorney for Mr. Wilson


 DATED: October 19, 2018

                           CERTIFICATE OF SERVICE

       I, Jacqueline K. Walsh, hereby certify that on October 19, 2018. I

 electronically served the forgoing document with the Clerk of the Court using the

 ECF system which will send notification to all parties.


                                    s/ Jacqueline K. Walsh
                                    Jacqueline K. Walsh
